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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

BODYGUARD PRODUCTIONS, INC.,        )
                                    )
             Plaintiff,             )
                                    )                  Case No. 17-cv-7667
                           v.       )
                                    )                  Judge Robert M. Dow
DOES 1-25,                          )
                                    )
             Defendants.            )
____________________________________)
                                    )
DOE No. 23, ERNESTO MENDOZA,        )
                                    )
             Counter-Plaintiff,     )
                                    )
                           v.       )
                                    )
BODYGUARD PRODUCTIONS, INC.,        )
                                    )
             Counter-Defendant.     )
                                    )

     PLAINTIFF’S MOTION TO STAY ITS MANDATORY INITIAL DISCOVERY
     RESPONSES UNTIL THE PENDING MOTION TO DISMISS IS RULED UPON

        NOW COMES Plaintiff, Bodyguard Productions, Inc., through its attorneys, Hughes Socol

Piers Resnick & Dym, Ltd., and presents its Motion for a Stay of its Mandatory Initial Discovery

Pilot (“MIDP”) Responses until a determination is made on its pending Motion to Dismiss. In

support of this Motion, Plaintiff states as follows:



   I.      INTRODUCTION

        Pending before the Court is Plaintiff/Counter-Defendant‘s Motion for Voluntary Dismissal

of Doe No. 23 and for Dismissal of Counterclaims. Dkt. 31. Based upon governing principles and

law, Plaintiff’s Motion to Dismiss Doe No. 23 should be granted, which would divest the Court of

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subject matter jursdiction over Doe No. 23’s Counterclaims. The jurisidictional issue should first

be addressed before this case proceeds. Plaintiff’s initial MIDP responses are due July 18, 2018.

Since Plaintiff/Counter-Defendant‘s motion is potentially dispositive of this case, Plaintiff seeks a

stay of its mandatory initial discovery responses until the pending motion is resolved.



    II.      LEGAL STANDARD

          “The District Court has broad discretion to stay proceedings as an incident to its power to

control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997). “[T]he power to stay

proceedings is incidental to the power inherent in every court to control the disposition of

the causes on its docket with economy of time and effort for itself, for counsel, and for litigants.”

Pfizer Inc. v. Apotex Inc., 640 F. Supp. 2d 1006, 1007 (N.D. Ill. 2009) (Durkin, J.).

          “Under Article III of the Constitution, federal courts may adjudicate only actual, ongoing

cases or controversies.” Lewis v. Cont'l Bank Corp., 494 U.S. 472, 477 (1990). An Article III

court must dismiss a case when it lacks subject matter jurisdiction because there is no case or

controversy, and such case or controversy must exist at all stages of litigation.” Popnikolovski v.

U.S. Dep't of Homeland Sec., Citizenship & Immigration Servs., 726 F. Supp. 2d 953, 960 (N.D.

Ill. 2010) (Pallmeyer, J.).

          “...[T]he postponement of discovery responses ... may be granted in the case of certain

motions to dismiss...” (Mandatory Initial Discovery Users‘ Manual for the Northern District of

Illinois, Comment, B(2)).

          “To maximize the effectiveness of mandatory initial discovery, responses must address

all the claims or defenses that will be raised by the parties. Accordingly, parties must file

answers, counterclaims, crossclaims and replies within the time required by the rules of



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procedure. The parties must do so even if they file a motion to dismiss, unless the motion is

based on lack of subject matter jurisdiction, lack of personal jurisdiction, sovereign immunity,

or absolute or qualified immunity, and the Court agrees to defer filings of pleadings for good

cause.” Id. at E. (emphasis added).



   III.      ARGUMENT

   A. Good Cause Exists for this Court to Stay Plaintiff’s MIDP Responses

          Before this case proceeds on Doe No. #23’s counterclaims, this Court must first address

whether it has subject matter jurisdiction over those claims. Without jurisdiction, no further

proceedings are appropriate.

          The deadline for the parties to exchange MIDP discovery responses is July 18, 2018.

Discovery during this stage of the proceedings will cause the parties to expend significant

resources and may subject this Court to lengthy motion practice. However, because the issue of

the Court’s jursidiction remains unresolved, these costs can be avoided or postponed by staying

the discovery proceedings until the Court has reached a resolution on Plaintiff/Counter-

Defendant’s motion to dismiss.

          “District courts enjoy extremely broad discretion in controlling discovery. Limitation or
          postponement of discovery may be appropriate when a defendant files a motion to
          dismiss for failure to state a claim on which relief can be granted. The mere filing of the
          motion does not automatically stay discovery … But such stays are granted with
          substantial frequency. Indeed, some districts have a rule that prohibits discovery during
          the pendency of such a motion, and in some circuits, district courts have been advised to
          resolve a motion to dismiss before allowing discovery … Stays are often deemed
          appropriate where the motion to dismiss can resolve the case - at least as to the moving
          party, or where the issue is a threshold one, such as jurisdiction, or qualified immunity.”

In re Sulfuric Acid Antitrust Litig., 231 F.R.D. 331, 336 (N.D. Ill. 2005) (Holderman, J.).




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A stay is appropriate where, as here, it will preserve judicial resources. This Court should grant

the requested stay to avoid potentially needless and wasteful expenditures in further proceedings,

including pending MIDP discovery.

       The requested stay is for the period of time during which the Court addresses ongoing

jurisdiction, which places no greater hardship on Defendant, other than arguing jurisdiction.

Defendant bears the burden of establishing this Court’s jurisdiction over its counterclaim prior to

obtaining any relief on the merits of its claims. “When federal jurisdiction is challenged,

the party seeking to invoke it bears the burden of establishing that the case is properly in a

federal forum.” Roman v. Grafton Transit, Inc., 948 F. Supp. 736, 738 (N.D. Ill. 1996) (Denlow,

J.). Implementing the stay has the potential to greatly simplify issues and promote judicial

economy by determining whether this matter will proceed at all. Imposing a stay in the present

case conserves judicial and party resources and poses no unfair burden to Defendant.




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   IV.      CONCLUSION

         For the foregoing reasons, Plaintiff respectfully requests that this Court stay all

proceedings, including MIDP discovery, pending this Court’s determination of ongoing subject

matter jurisdiction as presented by its pending Motion to Dismiss.




DATED: July 16, 2018                            Respectfully submitted,

                                                BODYGUARD PRODUCTIONS, INC.



                                                By:      s/ Michael A. Hierl           ___
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                                CERTIFICATE OF FILING

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Complaint for Copyright Infringement was filed electronically with the Clerk of the Court and
served on all counsel of record and interested parties via the CM/ECF system on July 16, 2018.


                                                      s/Michael A. Hierl




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